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                       IN THE UNITED STATE DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


TEAMSTERS LOCAL 251 HEALTH                       :
SERVICES AND INSURANCE PLAN,                     :
by and through TAMMY BEAUDREAULT,                :
in her capacity as Fund Administrator            :
                                                 :
                               Plaintiffs,       :
                                                 :
                               v.                :       Civil Action: 1:19-CV-00042
                                                 :
ADAMSDALE CONCRETE, INC.                         :
                                                 :
                               Defendants.       :
                                                 :

                                    VOLUNTARY DISMISSAL
       Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs voluntarily dismiss the above-captioned

matter without prejudice.


                                                            Respectfully submitted,
                                                            On behalf of Plaintiffs,
                                                            By his attorneys,


                                                            /s/ Marc Gursky
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                                       CERTIFICATION
       I hereby certify that I electronically filed the within document on April 18, 2019. The
document is available for viewing and downloading from the Court’s Electronic Case Filing
system.
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                                                            /s/Victoria Higgins
